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 5   Attorneys for Defendants,
     DAVID AKESON and CRISTINA AKESON
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 7
 8                                         UNITED STATES DISTRICT COURT
 9                                      NORTHERN DISTRICT OF CALIFORNIA
10   JAMES TALADA, III, and MELODY                                          CASE NO. C08-02771 WHA
     LABELLA
11
                                  Plaintiffs,                               DEFENDANTS AKESONS’ NOTICE OF
12                                                                          MOTION FOR MONETARY
                        vs.                                                 SANCTIONS PURSUANT TO FRCP
13                                                                          RULE 11, 28 USC §1927 AND THE
     CITY OF MARTINEZ, CALIFORNIA; CITY                                     COURT’S INHERENT AUTHORITY TO
14   OF MARTINEZ POLICE DEPARTMENT;                                         IMPOSE SANCTIONS
     CHIEF DAVE CUTAIA, Martinez Chief of
15   Police; SERGEANT GARY PETERSON, a                                      Date: January 7, 2010
     Martinez Police Officer; COMMANDER                                     Time: 8:00 a.m.
16   MARK SMITH, a Martinez Police Officer;
     GUARDSMARK GP, LLC, a California                                       Courtroom 9, 19th Floor,
17   Corporation and Parent Corporation for                                 450 Golden Gate Ave.
     Guardsmark, LLC; GUARDSMARK, LLC, a                                    San Francisco, CA
18   California Corporation; CRISTINA
     AKESON, a Guardsmark employee and                                      Honorable William H. Alsup
19   Security Guard; and DOES 1 through 100,
     inclusive,
20
                       Defendants.
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     _________________________________________________________________________________
     Defendants Akesons’ Notice of Motion for Monetary Sanctions Pursuant to FRCP Rule 11, 28 USC §1927 and the Court’s Inherent Authority
     to Impose Sanctions– C08-02771 WHA                                                                                            Page 1
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 1            TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD AND
              ALY EBRAHIMZADEH, ESQ.:
 2
 3            PLEASE TAKE NOTICE THAT Defendants DAVID and CRISTINA AKESON [hereinafter
 4   “Defendants” or “AKESONS”] bring this MOTION FOR MONETARY SANCTIONS PURSUANT
 5   TO FRCP RULE 11, 28 USC §1927 AND THE COURT’S INHERENT AUTHORITY TO IMPOSE
 6   SANCTIONS against Plaintiffs JAMES TALADA, III, and MELODY LABELLA, and Plaintiffs’
 7   counsel, John F. Henning, Jr. Esq., John F. Henning, III, Esq., and Henning & Henning, and Aly
 8   Ebrahimzadeh, Esq. , on Thursday, January 7, 2010, at 8:00 a.m., in the above entitled Court, Courtroom
 9   9, 19th Floor, 450 Golden Gate Avenue, San Francisco, CA 94102.
10            Due to the settlement between CRISTINA AKESON and MELODY LABELLA, CRISTINA
11   AKESON is not seeking sanctions against MELODY LABELLA. Defendants AKESON seek monetary
12   sanctions against Plaintiffs (except CRISTINA AKESON as against MELODY LABELLA) and their
13   counsel pursuant to FRCP Rule 11, 28 USC §1927 and the court’s inherent authority to impose
14   sanctions, on the basis that Plaintiffs and their counsel abused the litigation process by unreasonably and
15   vexatiously filing and continuing the litigation in this case against them after being requested to dismiss
16   the same. The grounds upon which this motion is predicated stem from the failure of Plaintiffs, in
17   propria persona, and Plaintiffs’ counsel, Aly Ebrahimzadeh, Esq., to conduct any pre-filing investigation
18   to verify the accuracy of the information upon which the claims against the AKESONS were grounded
19   in the First Amended Complaint (“FAC”). By continuing with the litigation and failing to investigate
20   the accuracy of the claims against the AKESONS after the filing of the FAC, Plaintiffs and John F.
21   Henning, Jr. Esq., John F. Henning, III, Esq., and Henning & Henning, caused the AKESONS to incur
22   unnecessary expenses and attorneys’ fees. The Court granted the Motion to Dismiss as to DAVID
23   AKESON, dismissing all the claims against him with prejudice. Thereafter, against CRISTINA
24   AKESON, Attorneys Henning and Plaintiffs continued to pursue six claims through the Second
25   Amended Complaint, even though discovery revealed that the evidence in support of such claims was
26   sparse or nonexistent. Plaintiff TALADA’s claims against CRISTINA AKESON were disposed of by
27   summary judgment. Only three of MELODY LABELLA’s claims survived summary adjudication and
28   were disposed of via settlement and dismissal. The Plaintiffs’ case against the AKESONS, at best, has
     _________________________________________________________________________________
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 1   been one based on innuendo and supposition. As such, Defendants AKESON seeks reimbursement for
 2   all the costs and fees that stem from defending against the filing and maintenance of the spurious claims
 3   against them in the sum of at least $213,000.
 4            This motion is based on this Notice of Motion and Motion, the Memorandum of Points and
 5   Authorities in support thereof, the Supporting Declaration of Robert D. Postar, the Request for Judicial
 6   Notice, and the pleadings and papers already on file in this action and such further evidence and oral
 7   argument as may be presented by counsel at the hearing on this motion.
 8   Dated: November 25, 2009                              JOHN F. PRENTICE & ASSOCIATES, P.C.
 9
10                                                               Robert D. Postar
                                                                Robert D. Postar, Esq.
11                                                              John F. Prentice, Esq.
                                                                Attorneys for Defendants
12                                                              DAVID AKESON and CRISTINA AKESON
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     to Impose Sanctions– C08-02771 WHA                                                                                            Page 3
